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Attorneys for Plaintiffs
IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA
Case No. 2:17-cv-00827-KJM-EFB

TRACEY VALENTINE, on behalf of )
herself and all similarly situated )
individuals, ) CONSENT TO BE INCLUDED AS AN
) INDIVIDUAL PLAINTIFF
Plaintiffs, )
v. ) [29 U.S.C. § 216(b)]
SACRAMENTO METROPOLITAN FIRE
DISTRICT, )
Defendant. )
)

I have been employed by the Sacramento Metropolitan Fire District (“District”) within the last
three years from the date indicated below, and I am generally familiar with the above-captioned
litigation. The District has not fully compensated me for the hours of overtime I have worked in
violation of the Fair Labor Standards Act. The District failed to pay my overtime at the "regular rate
of pay" as defined by 29 U.S.C. § 207(e). I therefore consent to be included as a Plaintiff in the above-
mentioned litigation and to be awarded damages if any are recovered. I understand that the law offices

of Mastagni Holstedt, APC, will be representing me in this action and that this consent form will be

filed with the court pursuant to 29 U.S.C. § 2 16(b). I authorize said counsel to make all decisions wit

respect to the conduct and handling of this case, including the settlement thereof as they deem

appropriate and/or necessary.

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Dated: \V {I , Ke a Ss

(afey Car )ile

(Print Name

CONSENT TO BE INCLUDED Valentine, et. al. v. SMFD
AS AN INDIVIDUAL PLAINTIFF Case No. 2:17-cv-00827-KJM-EFB

